USCA Case #22-1074               Document #2075149            Filed: 09/17/2024       Page 1 of 1
                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 22-1074                                                     September Term, 2024
                                                                              EPA-87FR24294
                                                          Filed On: September 17, 2024
Sinclair Wyoming Refining Company LLC,

                   Petitioner

         v.

Environmental Protection Agency,

                   Respondent

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American Petroleum Institute and Kern Oil &
Refining Co.,
                   Intervenors
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Consolidated with 22-1125, 22-1126, 22-1127,
22-1179, 24-1008, 24-1010



         BEFORE:          Srinivasan, Chief Judge, and Henderson, Millett, Pillard, Wilkins,
                          Katsas, Rao, Walker, Childs, Pan, and Garcia, Circuit Judges

                                             ORDER


       Upon consideration of petitioner Growth Energy’s petition for rehearing en banc,
and the absence of a request by any member of the court for a vote, it is

         ORDERED that the petition be denied.

                                            Per Curiam

                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Michael C. McGrail
                                                              Deputy Clerk
